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 8
                                       UNITED STATES DISTRICT COURT
 9
                                             DISTRICT OF NEVADA
10
     UNITED STATES OF AMERICA,                         )
11                                                     )
                    Plaintiff,                         )
12                                                     )              2:10-CR-579-GMN-(NJK)
                                  v.                   )              2:10-CR-346-GMN-(NJK)
13                                                     )             2:12-cr-00346-GMN-NJK
     CORNELIU WEIKUM and                               )
14   YULIA MISNA-HEFRON,                               )
                                                       )
15                  Defendants.                        )

16                                UNITED STATES’ MOTION TO CONTINUE
                                  THE DEADLINE FOR THE UNITED STATES
17                               TO FILE THE FINAL ORDER OF FORFEITURE

18          The United States of America by and through Daniel G. Bogden, United States Attorney for the
19   District of Nevada and Michael A. Humphreys, Assistant United States Attorney, respectfully moves
20   this Court to grant the United States a 30-day continuance, or until April 23, 2015, to complete the
21   preparation of the final Order of Forfeiture.
22          At the most recent hearing of this matter, presided over by the Court on January 22, 2015, the
23   United States told this Court that of the hundreds of known victims in this case, the United States had
24   notified all but one person, Andreas Strecker, who resides in Germany. This Court ordered the
25   Government to continue in its efforts to properly serve Mr. Strecker, but if those efforts were not
26   successful, the United States should file a motion to dismiss Mr. Strecker’s claim by March 23, 2015.


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 1           The United States was successful in contacting Mr. Strecker, and counsel for the Government

 2   spoke to Mr. Strecker on or March 9, 2015. Like nearly every other victim in this case, Mr. Strecker has

 3   waived his right to file a claim and has consented to the Government filing the final order of forfeiture.1

 4           As such, the Government has commenced the preparation of the final order of forfeiture. There

 5   are over 250 victims in this case and each victim has to be accounted for in the final order of forfeiture,

 6   which means that each victim must be specified by name, date and type of service effort and date and

 7   type of response, if any. In addition, if a claim raised a legal challenge, the final order must address the

 8   manner of challenge, how and when the Government responded and how this Court ultimately ruled on

 9   that challenge.

10           While the Government has commenced the process of listing each person in the final order of

11   forfeiture, the process is laborious and time-consuming because of the sheer number of victims who

12   must be described. Accordingly, the Government requests an additional four weeks, or until April 23,

13   2015, to file its final order of forfeiture.

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       We note that on March 23, 2015, this Court ordered the Government to file a response to Mr.
24   Strecker’s claim which was recently filed with this Court. Mr. Strecker’s claim is dated February 26,
25   2015. However, as already noted, counsel for the Government spoke with Mr. Strecker on March 9,
     2015, after the date of the recent claim that he filed with his Court. In that telephone conversation
26   Mr. Strecker declared that he was waiving his right to file a claim and that the Government could
     proceed with filing the final order of forfeiture.


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 1          WHEREFORE, the United States moves this Court to grant its motion to extend the time for the

 2   United States to prepare and file the final order of forfeiture in this case by an additional thirty (30)

 3   days; or until April 23, 2015.

 4          DATED this 23rd day of March 2015.
 5                                                             Respectfully submitted,
 6                                                             DANIEL G. BOGDEN
                                                               United States Attorney
 7
                                                               /s/Michael A. Humphreys
 8                                                             MICHAEL A. HUMPHREYS
                                                               Assistant United States Attorney
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                                                               IT IS SO ORDERED:
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12                                                             UNITED STATES MAGISTRATE JUDGE
13                                                        ITDATED:
                                                             IS SO ORDERED.
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15                                                        ________________________________
16                                                        Gloria M. Navarro, Chief Judge
                                                          United States District Court
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18                                                        DATED: 03/25/2015
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